            UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF NORTH CAROLINA


Leah Peregrine, et al

       v.                                                Case Number: 1:22CV00088

Mid Atlantic Roofing Systems, Inc.



                                     NOTICE
Take notice that a proceeding in this case has been set/reset as indicated below:

        PLACE: John Hervey Wheeler
                United States Courthouse
                323 E. Chapel Hill St., Durham, NC
COURTROOM NO.: Second Floor Courtroom
 DATE AND TIME: May 17, 2023 at 9:30 a.m.
   PROCEEDING: Initial Pretrial Conference


Local Rule 16.1(b) provides that the parties must hold their R. 26(f) conference at least 14 days
before the scheduled initial pretrial conference and submit to the court their report within 10
days thereafter. The scheduled initial pretrial conference is automatically canceled upon the
submission to the court of the Joint Rule 26(f) Report (LR 16.2) including the L.R. 5.4 & 5.5. If
parties are unable to reach agreement on a discovery plan and therefore submit separate Rule
26(f) Reports (LR 16.3),and (L.R. 5.4 & 5.5) they shall appear for the scheduled initial pretrial
conference.

       __________________________________________________________________

John S. Brubaker, Clerk

By: /s/ Kimberly Garrett, Deputy Clerk


Date: March 22, 2023

TO:    ALL COUNSEL AND/OR PARTIES OF RECORD




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